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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

   Richard Feltz and Ashton Lee Dennis, on )
   behalf of themselves and all others similarly )
   situated,                                     )
                                                 )
            Plaintiffs,                          )
   vs.                                           )
                                                 )
   Board of County Commissioners of the          )     Case No. 18-cv-00298-CVE-JFJ
   County of Tulsa; Vic Regalado, Tulsa          )
   County Sheriff, in his official capacity;     )
   Tammy Bruce, Stephen Clark, Julie Doss, )
   Theresa Dreiling, Owen Evans, Mary Ann )
   Godsby, David Guten, Bill Hiddle, Ann         )
   Keele, James Keeley, Deborah Ludi Leitch, )
   Anthony J. Miller, Kevin C. Morrison,         )
   Kirsten Pace, Wilma Palmer, April Seibert, )
   Rodney B. Sparkman, and Tanya Wilson, )
   in their capacities as Tulsa County Special )
   Judges; and William LaFortune, in his         )
   capacity as Presiding Tulsa County District )
   Court Judge,                                  )
                                                 )
            Defendants.                          )


                               SHERIFF VIC REGALADO’S
                        MOTION TO DISMISS AND BRIEF IN SUPPORT




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                        IN HIS OFFICIAL CAPACITY
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          In accordance with Fed. R. Civ. P. 12(b)(6) and Fed. R. Civ. P. 21, Defendant, Sheriff Vic

   Regalado, in his official capacity as the Tulsa County Sheriff (“Regalado”), moves this Court for

   an order dismissing Plaintiffs’ claims against him with prejudice on the grounds that he is an

   improper party to this suit in his capacity as a Tulsa County officer, and Plaintiffs’ Second

   Amended Complaint (“SAC”) fails to state a claim upon which relief can be granted.

                                              I.
                                    PRELIMINARY STATEMENT

          Plaintiffs’ claims cannot lie against Tulsa County or any of its officers in their capacity as

   county actors. Plaintiffs complain that the named Defendants, Tulsa County District Court

   Presiding Judge (“Presiding Judge”), the Tulsa County Special Judges, the Board of County

   Commissioners of Tulsa County (“BOCC”), and Regalado, have violated Plaintiffs’ rights by (1)

   operating a wealth-based detention scheme, and (2) by detaining them without ensuring they

   received a prompt due process complaint hearing. However, Regalado does not have authority to

   cure the alleged constitutional violations, nor was he responsible for them.

          In Oklahoma, arrestees are only released from jail by order of a state court judge or by

   satisfying bail conditions set by a state court judge. The county sheriff’s role in releasing arrestees

   from county jail is purely ministerial; Oklahoma law requires that he follow the rules and directions

   of the district court judge with respect to those in his custody. Further, all bail hearings in

   Oklahoma are conducted by the state court, and all bail determinations are made by state court

   judges. The county sheriff plays no role in bail hearings or bail determinations. Regalado releases

   arrestees who satisfy the conditions of bail set by the state court because it is his duty to do so. It

   is not a county sheriff’s place to sit in judgment on the proceedings of state court judges.

          Therefore, Regalado’s actions were taken at the direction and control of Oklahoma state

   district court or special judges and pursuant to Oklahoma law. When a county sheriff acts as an


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   arm of the state district court, he is a state, rather than county, actor. Moreover, adherence to

   Oklahoma law and judicial orders is a matter of state, not county policy. As such, Plaintiffs failed

   to allege that a Tulsa County policy or custom was the moving force behind their alleged harms.

   Therefore, Plaintiffs’ claims against Regalado should be dismissed, or in the alternative, Regalado

   should be dismissed in his capacity as a county actor.

                                       II.
                    SUMMARY OF THE SECOND AMENDED COMPLAINT

          Plaintiffs seek prospective declaratory and injunctive relief under 42 U.S.C. § 1983 against

   a number of state court judges and the County Defendants based on allegations that “Defendants”

   impose – absent eleven (11) constitutionally required procedural safeguards – secured money bail

   as a condition of release on arrestees who are unable to pay such bail awaiting trial. Dkt. # 259, at

   ¶¶ 17-22, 24-26, 28-34, 37, 45-50, 53-74, 87-105, 116, 124-25, 137-41. It is alleged that

   Plaintiffs/arrestees Richard Feltz, Ashton Lee Dennis, and the putative class members cannot

   afford to make bail, and that the imposition of money bail under such circumstances is

   unconstitutional. Id. at ¶¶ 6, 26, 29, 34, 69-73, 117. Plaintiffs request an order enjoining the County

   Defendants and the Presiding Judge from detaining any arrestee in the county jail unable to pay

   his or her secured bail amount unless: (1) he or she is given a speedy, (2) individualized bail

   determination hearing that (3) includes a due process complaint inquiry into and (4) findings

   concerning a person’s ability to pay, (5) consideration of and (6) findings concerning alternatives

   to secured financial conditions of release, (7) preceded by sufficient notice of the matters to be

   determined, (8) accompanied by appointment of counsel, (9) with the opportunity to be heard and

   to confront evidence, and (10) findings concerning the necessity of detention, i.e., prior to entering

   a pretrial detention order, which includes orders imposing secured financial conditions of release

   on a detainee unable to pay such amount, findings on the record that the government has met its


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    burden to demonstrate that no alternative condition or combination of conditions would be

    sufficient to serve its compelling interests, with (11) such proof to be by clear and convincing

    evidence. Id. at ¶ 141. Plaintiffs also request an order declaring the judicial practices in place at

    the time of Plaintiffs’ pretrial detentions unconstitutional, and the above-referenced eleven (11)

    procedural safeguards constitutionally required. Id.

            Plaintiffs’ specific allegations against the Presiding Judge and other state court special

    judges differ significantly from their particular allegations against Regalado. Plaintiffs expressly

    allege that one (1) or more defendant judges of the Fourteenth Judicial District of the State of

    Oklahoma are responsible for promulgating the secured money bail schedule (id. at ¶¶ 19-22, 55),

    making individual bail determinations (id. at ¶¶ 19, 37, 41, 58-59, 64), promulgating court rules

    governing bail (id.at ¶ 22, 35-38, 53-67) and implementing the eleven (11) procedural safeguards

    articulated by Plaintiffs. Id. at ¶¶ 19-22, 24-26, 28-34, 37, 45-50, 53-74, 87-105, 116, 124-25, 137-

    41. Conversely, Plaintiffs specifically allege that arrestees taken to the county jail are detained by

    Regalado and released only upon payment of bail as approved by the court or upon court order. Id.

    at ¶¶ 18-18, 53-67, 80, 83.

            Alternatively, Plaintiffs seek prospective relief against Regalado under the fictions of Ex

    parte Young as an agent of the state who may be sued to prevent enforcement of an unconstitutional

    state law. See id. at ¶ 18 n.3.

                                              III.
                                       STANDARD OF REVIEW

            A motion to dismiss under Rule 12(b)(6) should be granted when, as here, a complaint fails

    to make allegations sufficient to support a right to relief. “Factual allegations must be enough to

    raise a right to relief above the speculative level . . . .” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

    555 (2007). “When there are well-pleaded factual allegations, a court should assume their veracity


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    and then determine whether they plausibly give rise to an entitlement to relief,” but a complaint

    must “contain enough facts to state a claim for relief that is plausible on its face.” Allen v. Town of

    Colcord, 874 F. Supp. 2d 1276, 1282 (N.D. Okla. 2012) (citation and quotation omitted). “Mere

    ‘labels and conclusions’ and ‘a formulaic recitation of the elements of a cause of action’ are

    insufficient.” The Estate of Lockett by & through Lockett v. Fallin, 841 F.3d 1098, 1107 (10th Cir.

    2016). “Accordingly, in examining a complaint under Rule 12(b)(6), [the court] will disregard

    conclusory statements and look only to whether the remaining, factual allegations plausibly

    suggest the defendant is liable.” Khalik v. United Air Lines, 671 F.3d 1188, 1191 (10th Cir. 2012).

           Under Rule 21, the Court may drop an improper party upon motion or sua sponte.

                                             IV.
                                  ARGUMENTS AND AUTHORITIES

        A. REGALADO DOES NOT POSSESS AUTHORITY TO RELEASE AN ARRESTEE
           FROM THE TULSA COUNTY JAIL

           In Oklahoma, a county sheriff is required to conform, in all respects, to the state standards

    for county jails and the rules and directions of the district judge regarding those in his custody:

           The sheriff, or such person designated by law in his place, shall have charge of the
           county jail of his county and of all persons by law confined therein, and such sheriff
           or other officer is hereby required to conform, in all respects, to the rules and
           directions promulgated pursuant to Section 192 of Title 74 of the Oklahoma
           Statutes and of the district judge and communicated to him by the proper authority. 1

    57 O.S. § 47 (emphasis added). A county sheriff must comply with the rules and directions of the

    district court judge with respect to those in his custody; he may be criminally prosecuted, held in

    contempt of court and/or removed from office if he neglects or fails in his duty. See 21 O.S. § 345

    (criminalizing willful failure or refusal to perform official duty); 21 O.S. § 532 (criminalizing



    1
     57 O.S. § 48 requires Regalado to keep a Jail Register of each person in his custody, and he is
    required to furnish the Jail Register to the district court “upon the request of the presiding judge.”
    57 O.S. § 49.
                                                      4
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    willful or careless release of person lawfully held in custody); 21 O.S. § 533 (criminalizing willful

    neglect or refusal to receive prisoner into custody); 22 O.S. § 1181 (removal from office for willful

    neglect of duty); 57 O.S. §§ 48-49 (sheriff required to maintain jail register and furnish a copy to

    the district court upon the request of the presiding judge); 57 O.S. § 55 (criminalizing sheriff’s

    neglect or refusal to comply with any of the rules and regulations regarding detainees in his jail

    established by the district judge, state regulations, or statutes).

            It a felony for a county sheriff to allow persons lawfully held by him in custody “to escape

    or go at large, except as may be permitted by law.” 21 O.S. § 532. If a sheriff releases an arrestee

    from custody without statutory authority and in the absence of judicial authorization, the sheriff

    faces criminal penalties and removal from office. See State v. Price, 2012 OK 51, ¶¶ 4 n.3, 20, 29,

    37, 280 P.3d 943, 946, 950, 952-53 (sheriff was accused of “the release of a female prisoner to the

    custody of her mother without prior court approval. . . . A sheriff who discharges a prisoner without

    proper authority flagrantly violates a sheriffs’ duties. The release of a person on personal

    recognizance is a judicial function. . . . The trial court's removal of the sheriff of Pawnee County

    is affirmed.”).

            Furthermore, Oklahoma’s Attorney General has formally opined that “[a] sheriff cannot

    release an arrestee without bond to return at a later time.” 1980 OK AG 1, ¶ 26(3). The Attorney

    General’s advice on this issue is important because “it is the duty of [county] officers . . . with

    notice thereof to follow the opinion of the Attorney General until relieved of such duty by a court

    of competent jurisdiction or until [the Oklahoma Supreme] Court should hold otherwise.” Pan Am.

    Petroleum Corp. v. Bd. of Tax-Roll Corr. of Tulsa Cty, 1973 OK 52, ¶ 10, 510 P.2d 680, 681. The

    Attorney General noted an exception when “the sheriff himself is the arresting officer and the

    arrest has been made without a warrant, the offense is a misdemeanor, or a violation of a city



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    ordinance, and a citation has been issued pursuant to . . . 22 O.S. § 209.” 1980 OK AG 1, at ¶ 13.

    Plaintiffs do not allege that Regalado was personally involved in any of their arrests. See Dkt. #

    259.

             Plaintiffs complain that Regalado “detains arrested people who cannot pay a predetermined

    secured money bail prior to any individualized hearing,” and continues to detain those persons

    after they receive an individualized bond hearing in front of a state judge, “even though there has

    been no inquiry into or findings concerning ability to pay, consideration of alternatives conditions

    of release, or findings concerning the necessity of pretrial detention.” Id. at ¶ 18.

             However, Regalado plays no role in the bail setting or bond hearing process. Regalado

    simply detains arrestees, pursuant to Oklahoma law, so that he or she may be “held to answer for

    a public offense.” 22 O.S. § 186. “To legally arrest and detain, the Government must assert

    probable cause to believe the arrestee has committed a crime. . . . [A] defendant who has been

    arrested [is then] held to answer.” 2 U.S. v. Marion, 404 U.S. 307, 320-21 (1971). Regalado

    exercises no discretion nor does he have control over what system is used by the judiciary to ensure

    that arrestees appear in court.

             Once an arrestee satisfies the conditions of bail set forth by the state court, a county sheriff

    is obligated to release him or her by law. In Dodds v. Richardson, 614 F.3d 1185, 1202-03 (10th

    Cir. 2010), the Tenth Circuit held that under Oklahoma law, once bail has been set by the court, a

    county sheriff is obligated to accept such bail when tendered and release the arrestee; failure to do

    so subjects the sheriff to liability.

             Oklahoma law charged Defendant as sheriff with the responsibilities of running the
             county jail and accepting bail from all arrestees not charged with death-penalty
             eligible crimes. See 57 Okla. Stat. § 47 (“The sheriff . . . shall have charge of the
             county jail of his county and of all persons by law confined therein, and such sheriff
             . . . is hereby required to conform, in all respects, to the rules and directions
    2
        See 2004 OK AG 17 (sheriff’s obligation to accept prisoners).
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           promulgated pursuant to [74 Okla. Stat. § 192] and of the district judge and
           communicated to him by the proper authority.”); 22 Okla. Stat. § 1101(A) (“Except
           as otherwise provided by law, bail . . . shall be admitted upon all arrests in criminal
           cases where the offense is not punishable by death and in such cases it may be taken
           by and of the persons . . . authorized by law to arrest, [and] to imprison offenders .
           . . .”); Okla. Att’y. Gen. No. 69–138 (1969) (“In criminal cases except cases
           punishable by death . . . a sheriff is required to accept bail, under the terms of [22
           Okla. Stat. § 1101 (1961)], for those persons jailed at times other than the normal
           working hours of the Court, provided proper bail has been set as provided by law.”).

    Id. at 1203.

           Therefore, Regalado has neither the authority to release an inmate nor the power to detain

    him or her once bail conditions are satisfied according to Oklahoma law or ordered by a special or

    district court judge. A county sheriff has no oversight responsibilities with respect to the state

    judiciary and cannot sit in judgment on their rulings. On the contrary, “[t]he sheriff is an officer of

    the court and is subject to its orders and direction.” 1999 OK AG 23, ¶ 9. “It is not only the power,

    but the duty, of sheriffs in their various jurisdiction . . . [to] carry out the mandates, orders and

    directions of the courts.” 1985 OK AG 27, ¶ 2.

       B. STATE JUDGES ARE THE ONLY OFFICIALS WITH THE AUTHORITY TO
          RELEASE AN ARRESTEE FROM A COUNTY JAIL

           State law and local court rules vest exclusive authority in the state judiciary regarding the

    terms and conditions of an arrestee’s release from jail. See 22 O.S. § 1105.3(B) (only a judge is

    authorized to grant or deny pretrial release); 1980 OK AG 1 (sheriff cannot release an arrestee

    other than by court order or upon posting bond in an amount approved by the court); 22 O.S. §

    1105(A) (court may prescribe by rule the conditions under which the sheriff or his deputy may

    prepare and execute an order of release on behalf of the court); Price, 280 P.3d at 952 (release of

    an arrestee on personal recognizance is a judicial function).

           District court or special judges are directed to release an arrestee from detention “upon the

    allowance of bail and the execution of the requisite recognizance, bond, or undertaking to the state


                                                      7
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    . . . .” 22 O.S. § 1105(A). Pursuant to 22 O.S. § 1105.2(B), “[e]very judicial district may, upon the

    order of the presiding judge for the district, establish a pretrial bail schedule for felony or

    misdemeanor offenses [certain offenses excluded].” Plaintiffs allege that the Presiding Judge for

    Judicial District No. 14 3 “promulgates the secured money-bail schedule that is used to determine

    the financial condition of release for almost all people 4 arrested in Tulsa County[, and] the Local

    Criminal Rules, which specify the procedures by which bail is set.” 5 Dkt. # 259, at ¶¶ 22, 55. In

    Oklahoma, some judicial determinations of bail are mandated by state statute. 6 An arrestee may

    also be released from custody pending trial on his personal recognizance at the “discretion of the

    court.” 59 O.S. § 1334(A).

           Moreover, The local District Court Criminal Rules for Tulsa County, promulgated by the

    District Court, not Regalado, delineate three (3) specific conditions, one (1) of which must be met

    before an “Order of Release of any prisoner in the Tulsa County Jail may be issued by the Sheriff

    of Tulsa County or the Court Clerk of Tulsa County.” Criminal Rule (“CR”) 1(D) (available at

    http://www.tulsacountydistrictcourt.org/files/DistrictCourtRulesCriminal.pdf). Those conditions

    require (1) the verbal order of a Judge, (2) the written order of a Judge, or (3) the posting of bond




    3
     The counties of Tulsa and Pawnee comprise Oklahoma Judicial District No. 14. See 20 O.S. §
    92.15d.
    4
     A judge or magistrate may set the applicable bond when issuing a warrant for someone’s arrest.
    See, e.g., 22 O.S. §§ 457-58. Those accused of certain crimes, e.g., domestic violence, must wait
    until their initial appearance to have bond specially set by a judge or magistrate. 22 O.S. § 60.9.
    Some offenses are nonbailable. Okla. Const. Art. 2, § 8; 22 O.S. § 1101.
    6
     See, e,g., 22 O.S. § 1101.1 (“Bail, by sufficient sureties, may be admitted upon all arrests for
    violations of Sections 1028, 1029, 1030, or 1081 of Title 21 of the Oklahoma Statutes and shall be
    in an amount of not less than Fifteen Thousand Dollars ($15,000.00). Bail on personal
    recognizance bond for such offenses shall not be admitted.”); 22 O.S. § 1115.3(E) (every year,
    “the Administrative Office of the Courts shall prepare a schedule of amounts to be received as
    bail” for traffic, wildlife and water safety related offenses). The Uniform Oklahoma Bond
    Schedule is published at: http://www.oscn.net/static/schedules/SCaD2019-0088.pdf).

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    “in an amount approved by a Judge.” Id. at CR l(D)(2), (3), (5).

              As a matter of state law, bail determinations are made by the judges of the District Court.

    See 22 O.S. § 1105(B) (setting forth the circumstances to be considered by the judge regarding the

    determination of bond and other conditions of release); 22 O.S. § 1105.3(E) (judge conducts

    hearings concerning the amount and type of bail appropriate for pretrial release); 22 O.S. §§ 231,

    458, 1109, 1115.3(A) (court sets the amount of bail); 22 O.S. § 1105.2(A) (in Pretrial Release Act,

    bail is set by the court); Brill v. Gurich, 1998 OK CR 49, ¶ 4, 965 P.2d 404, 406 (setting forth bail

    determination guidelines required to be followed by “the judges of this State”).

              Here, Plaintiffs confirm the judiciary’s control over the detention and release of inmates in

    the Tulsa County Jail. Plaintiffs allege that secured money bail 7 is imposed on arrestees in the

    Tulsa County Jail by three (3) different judicial means. Initially, for warrantless arrests involving

    a crime listed on the state court’s preset bond schedule, secured money bail is set by the court’s

    predetermined chart of offenses with corresponding bail amounts. See Dkt. # 259, at ¶¶ 4, 7, 17-

    18, 22, 35, 55. As above, predetermined bail can also be a matter of state statute. 8 For any crime

    not listed on the state court’s preset bond schedule, secured money bail is set by a state court judge

    while making probable cause determinations within forty-eight (48) hours of arrest. See id. at ¶¶

    3, 64. Finally, when a warrant is issued for someone’s arrest, secured money bail is specified on

    the arrest warrant and set by the state court judge who issues the arrest warrant. See id. at ¶ 58.

              Plaintiffs allege that the Presiding Judge 9 of Oklahoma’s Fourteenth Judicial District,



    7
     “Secured money bail requires people who are arrested to deposit money before they are released
    . . . .” Id. at ¶ 78.
    8
        See statutes cited supra note 6.
    9
     Plaintiffs allege that the presiding judge “has general administrative, rulemaking, and supervisory
    authority over the District Court for Tulsa County.” Id. at ¶ 22.

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    “which encompasses Tulsa County[,] . . . promulgates the secured money-bail schedule that is

    used to determine the financial condition of release for almost all people arrested in Tulsa

    County.” Id. at ¶¶ 22, 55 (emphasis added). Plaintiffs allege that this schedule is a “predetermined

    chart of offenses and corresponding dollar amounts,” id. at ¶¶ 4, 7, 35, that “detains people who

    cannot afford to pay and releases people who can.” Id. at p. 12, heading B (initial caps reduced to

    lower case).

           Plaintiffs further allege that the presiding judge of Oklahoma’s Fourteenth Judicial District

    also “promulgates the Local Criminal Rules, which specify the procedures by which bail is set and

    probable cause determined, the timing and conduct of arraignments, and the appointment of

    counsel.” Id. at ¶ 22. Plaintiffs further allege that “[i]f a person has been arrested on a warrant,

    the warrant specifies bail conditions, which are set by Defendant Special Judges. 10 For warrants

    on charges covered by the bail schedule, Defendant Special Judges exclusively use secured

    financial conditions of release, and they determine the secured amounts using the [bail] schedule.”

    Id. at ¶ 58 (emphasis added). And as the third means of setting secured money bail, Plaintiffs allege

    that “[s]ome charges are not covered by the money-bail schedule. For these charges, the Special

    Judges impose money-bail amounts when they make probable cause determinations.” Id. at ¶ 37

    (emphasis added). Probable cause determinations are made within forty-eight (48) hours of arrest.



    10
      “Defendant Special Judges are appointed by Tulsa County district court judges. They are
    authorized by state law to perform the duties of a magistrate in criminal cases. Defendant Special
    Judges’ magistrate duties include making probable cause determinations and bail determinations.
    Defendant Special Judges make bail determinations in three contexts. First, Defendant Special
    Judges review and approve arrest warrants. As part of this process, Defendant Special Judges
    specify conditions of release for the person whose arrest is authorized by each warrant. Second,
    Defendant Special Judges determine conditions of release for anyone who is arrested without a
    warrant on a charge that is not included in Tulsa County’s secured bail schedule. Third, Defendant
    Special Judges review the monetary amounts that have been imposed according to the secured bail
    schedule and have the authority and ability to adjust those money bail amounts or impose
    alternative release conditions. Defendant Special Judges rarely, if ever, alter monetary amounts.”
    Id. at ¶ 19.
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    See id. at ¶ 64. Therefore, it is undisputed that state court judges are the only persons with the

    authority to set forth conditions that would permit an arrestee to be released from jail.

       C. NO TULSA COUNTY POLICY WAS THE MOVING FORCE BEHIND
          PLAINTIFFS’ ALLEGED HARMS

           The Civil Rights Act of 1871 is a federal statute, numbered 42 U.S.C. § 1983, that provides

    a remedy to someone deprived of his or her constitutional rights by a person acting under color of

    state law. Section 1983 proclaims:

           Every person who, under color of any statute, ordinance, regulation, custom, or
           usage, of any State or Territory or the District of Columbia, subjects, or causes to
           be subjected, any citizen of the United States or other person within the jurisdiction
           thereof to the deprivation of any rights, privileges, or immunities secured by the
           Constitution and laws, shall be liable to the party injured in an action at law, suit in
           equity, or other proper proceeding for redress, except that in any action brought
           against a judicial officer for an act or omission taken in such officer’s judicial
           capacity, injunctive relief shall not be granted unless a declaratory decree was
           violated or declaratory relief was unavailable.

    (Emphasis added). A local municipality that is not considered part of the state for Eleventh

    Amendment purposes, thus, a county, is a “person” for purposes of § 1983 liability. Monell v.

    Dep't of Soc. Servs. of City of New York, 436 U.S. 658, 690 n.54 (1978); Bd. of Cty. Comm'rs of

    Bryan Cty., Okl. v. Brown, 520 U.S. 397, 403 (1997). In Monell, 436 U.S. at 689, and subsequent

    cases, the United States Supreme Court has “required a plaintiff seeking to impose liability on a

    municipality under § 1983 to identify a municipal ‘policy’ or ‘custom’ that caused the plaintiff’s

    injury.” Brown, 520 U.S. at 403 (citing Pembaur v. Cincinnati, 475 U.S. 469, 480–481 (1986);

    Canton v. Harris, 489 U.S. 378, 389 (1989). Assuming that a constitutional deprivation took




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    place, 11 municipal liability exists under Section 1983 only when “execution of a municipal policy

    inflict[s] the [constitutional] injury.” Collins v. City of Harker Heights, Tex., 503 U.S. 115, 122

    (1992). To hold the municipality liable under Section 1983, “plaintiff must show not only that a

    constitutional violation occurred, but also that some municipal policy or custom was the moving

    force behind the violation.” Myers v. Oklahoma County Bd. of County Comm’rs, 151 F.3d 1313,

    1320 (10th Cir. 1998). Monell’s “policy or custom” requirement applies to § 1983 claims against

    a municipality for prospective declaratory or injunctive relief. Los Angeles Cty., Cal. v. Humphries,

    562 U.S. 29, 39 (2010).

            “Locating a ‘policy’ ensures that a municipality is held liable only for those deprivations

    resulting from the decisions of its duly constituted legislative body or of those officials whose acts

    may fairly be said to be those of the municipality.” Brown, 520 U.S. at 403-04. “[M]unicipal

    liability under § 1983 attaches where—and only where—a deliberate choice to follow a course of

    action is made from among various alternatives by the official or officials responsible for

    establishing final policy with respect to the subject matter in question.” Pembaur, 475 U.S. at 483-

    84 (citing City of Oklahoma City v. Tuttle, 471 U.S. 808, 823 (1985)) (“‘policy’ generally implies

    a course of action consciously chosen from among various alternatives”). “A challenged practice

    may be deemed an official policy or custom for § 1983 municipal-liability purposes if it is a

    formally promulgated policy, a well-settled custom or practice, a final decision by a municipal




    11
      Plaintiffs allege a deprivation of their right to equal protection and due process by jailing them
    (i.e., not releasing them following probable cause for their arrest and detention) because they
    cannot afford a monetary payment, and a deprivation of their right to pretrial liberty by jailing
    them (i.e., not releasing them following probable cause for their arrest and detention) without
    procedural due process. See id. at ¶¶ 137, 140, 148. Plaintiffs, however, do not allege an Eighth
    Amendment claim for excessive bail. See id.

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    policymaker, 12 or deliberately indifferent training or supervision.” Schneider v. Grand Junction

    Police Dep’t, 717 F.3d 760, 770 (10th Cir. 2013).

            “In a series of cases, the Supreme Court has consistently held that the question of who is a

    final policymaker for purposes of attributing liability to a government entity under § 1983 is a

    question of state law.” Karen M. Blum, “Support Your Local Sheriff: Suing Sheriffs Under §

    1983,” 34 Stetson L. Rev. 623, 630 n.46 (Spring 2005) (citing Jett v. Dallas Indep. Sch. Dist., 491

    U.S. 701 (1989); City of St. Louis v. Praprotnik, 485 U.S. 112 (1988); Pembaur v. City of

    Cincinnati, 475 U.S. 469 (1986)).

            The States have extremely wide latitude in determining the form that local
            government takes, and local preferences have led to a profusion of distinct forms. .
            . . Without attempting to canvass the numberless factual scenarios that may come
            to light in litigation, we can be confident that state law (which may include valid
            local ordinances and regulations) will always direct a court to some official or body
            that has the responsibility for making law or setting policy in any given area of a
            local government’s business. . . . [A] federal court would not be justified in
            assuming that municipal policymaking authority lies somewhere other than where
            the applicable law purports to put it.

    Praprotnik, 485 U.S. at 124-25 (emphasis added).

         1. Under Oklahoma Law, a State District Court Judge or Special Judge are the Final
            Policymakers as to Who Gets Released from the Jail and under what Conditions

            Each district court in Oklahoma is an extension of the State of Oklahoma’s judicial branch.

    See Okla. Const., Art. 7; North Side State Bank v. Board of County Comm’rs of Tulsa County,

    1994 OK 34, ¶ 15, 894 P.2d 1046, 1052 (distinguishing between the state district court and the

    county); Hindman v. Thompson, 557 F.Supp.2d 1293 (N.D. Okla. 2008) (state liable for torts

    committed by district court judge). Each county is required to provide a court room and an office


    12
      Plaintiffs allege that Regalado “is the final policymaker for the jail,” Dkt. # 259, at ¶ 18, and that
    he “is a final policymaker for Tulsa County’s post-arrest jailing policies and practices,” id. at 6 n.
    3, but Plaintiffs do not allege that he personally participated in their arrest and/or detention or that
    he personally made a final decision that directly caused their constitutional deprivations.

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    for the judge of the district court, but each judge serves his or her judicial district, not the county.

    19 O.S. § 401; George B. Fraser, “Oklahoma’s New Judicial System,” 21 Okla. L. Rev. 373, 375

    (1968); Okla. Const., Art. 7. Oklahoma’s seventy-seven (77) counties are divided into twenty-six

    (26) judicial districts, each with its own district court and at least one (1) district court judge; these

    judicial districts are then divided into nine (9) judicial administrative districts, each with its own

    presiding administrative judge. 20 O.S. §§ 22-23, 92.1–92.27; Okla. Const. Art. 7, § 7.

            As above, the judges of the Fourteenth Judicial District of the State of Oklahoma are the

    officials authorized under state law to establish bail policies and conditions of release for arrestees

    in the Tulsa County Jail. Because the state court’s policy of using secured bail for arrestees at the

    county jail is a formal policy promulgated by state court judges through publication of a bail

    schedule, and imposing secured bail on arrest warrants and during probable cause determinations

    for crimes not on the bail schedule, Plaintiffs cannot make out a case that the county creates,

    promulgates, or implements an informal custom or practice of wealth based detention. See supra

    Section IV.B. The policy at issue is promulgated by the state and Regalado does nothing more than

    follow state law and obey state court judicial orders regarding when an arrestee can be released

    from jail. Regalado has no authority to release an arrestee absent payment of bond or receipt of a

    court order of release. See supra Section IV.A.

            An injunction or declaratory judgment against Regalado cannot issue under § 1983 based

    on respondeat superior or Regalado being responsible for carrying out the statutes, policies, rules,

    or directives created or issued by the state legislature or state judiciary. See Humphries, 562 U.S.

    at 30-31 (plaintiff seeking injunctive relief against municipality under § 1983 must show that his




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    injury was caused by a municipal policy or custom). The County 13 cannot be subject to a 42 U.S.C.

    § 1983 action because it implements state law. Whitesel v. Sengenberger, 222 F.3d 861, 872 (10th

    Cir. 2000) (board of county commissioners “cannot be liable for merely implementing a policy

    created by the state judiciary”); Ledbetter v. City of Topeka, Kan., 318 F.3d 1183, 1190 (10th Cir.

    2003) (collecting cases) (acts of a municipal judge in performing a state judicial function do not

    establish municipal policy); Shepp v. Fremont County, Wyo., 900 F.2d 1448, 1456-57 (10th Cir.

    1990) (denial of bail was the responsibility of state judge and could not be attributed to the county);

    See also ODonnell v. Harris Cty., 892 F.3d 147, 156 (5th Cir. 2018) (sheriff is not a municipal

    policymaker when following judicial orders); McNeil v. Cmty. Prob. Servs., LLC, 945 F.3d 991,

    995 (6th Cir. 2019) (sheriff acts for state when he detains “probationers under judge-set bail

    amounts”); Surplus Store and Exchange, Inc. v. City of Delphi, 928 F.2d 788, 791-92 (7th Cir.

    1991) (“It is difficult to imagine a municipal policy more innocuous and constitutionally

    permissible, and whose causal connection to the alleged violation is more attenuated, than the

    ‘policy’ of enforcing state law. If the language and standards from Monell are not to become a

    dead letter, such a ‘policy’ simply cannot be sufficient to ground liability against a municipality.”);

    Robinson v. City of Tupelo, Mississippi, No. 1:17-CV-55-SA-DAS, 2018 WL 2348666, *6 (N.D.

    Miss. March 23, 2018) (County could not be held liable for charging $25 fee mandated by state

    law when releasing someone on bail. “Here, Plaintiff has not identified any policy or custom

    attributable to Lee County that was the moving force behind the alleged violation. Though

    generally the Sheriff acts as a policymaker within the County, and often the Sheriff’s actions may

    justifiably be considered to constitute county policy under Monell, the Sheriff’s actions here are



    13
     Plaintiffs’ Section 1983 suit against Regalado, in his official capacity as the Tulsa County
    Sheriff, is a suit against Tulsa County. Kentucky v. Graham, 473 U.S. 159, 166 (1985); Monell v.
    Department of Soc. Servs., 436 U.S. 658, 690 n.55 (1978).
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    more fairly ‘characterized as the effectuation of the policy of the State’ of Mississippi. This is

    especially true considering the Sheriff’s inability to exercise discretion in assessing the fee under

    the statute.”) (internal citation omitted); Humphries v. Milwaukee County, No. 10-CV-99-JPS,

    2011 WL 5506676, *6 (E.D. Wisc. Nov. 10, 2011) (“a municipality ‘cannot be held liable under

    section 1983 for acts that it did under the command of state or federal law’”) (quoting Bethesda

    Lutheran Homes and Services, Inc. v. Leean, 154 F.3d 716, 718 (7th Cir. 1998); Frobe v. Village

    of Lindenhurst, No. 11 C 1722, 2014 WL 902878, *9 (N.D. Ill. March 7, 2014) (“the state law is

    a state law, not municipal policy”).

           The United States Court of Appeals for the Tenth Circuit (Tenth Circuit) addressed similar

    circumstances in Moya v. Garcia, 895 F.3d 1229, 1231 (10th Cir. 2018). In Moya, two (2)

    detainees brought suit against the sheriff, other local jail authorities, and the local board of

    commissioners, asserting that they were wrongly detained because their arraignments were

    delayed. The Tenth Circuit determined the “sheriff and wardens did not cause the arraignment

    delays” because the “scheduling of the arraignments lay solely with the state trial court.” See id.

    at 1233. The Moya court observed that the sheriff notified the court that the plaintiffs were in

    custody and their “overdetentions were caused by the court’s failure to schedule and conduct

    timely arraignments rather than a lapse by the sheriff or wardens.” Id. at 1233-34. The Tenth

    Circuit rejected the Moya plaintiffs’ argument that the sheriff had a duty to take some action to

    mitigate the overdetention by requesting the court to schedule arraignments or by taking other

    similar action to notify the court of the problem. See id at 1234. Relying on an analysis of relevant

    state law, the Moya court determined that “New Mexico law required the court (not the sheriff or

    wardens) to schedule timely arraignments.” Id. at 1236. The Moya court also rejected the

    dissenting decision’s approach, arguing that the “jail officials could have simply released” the



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    Moya plaintiffs. Id. at 1238. The Tenth Circuit explained that the plaintiffs based their arguments

    on the arraignment delays and “never argued that Defendants should have unconditionally released

    them from jail.” Id. The Tenth Circuit further explained that the “dissent’s theory would create a

    Catch-22 for jailers” since New Mexico law establishes that “jailers commit a misdemeanor and

    must be removed from office if they deliberately release a prisoner absent a court order,” thus,

    leave a jailer “forced to choose between committing a crime and facing civil liability under §

    1983.” Id. The Moya court ultimately held that the district court did not err when it dismissed the

    plaintiffs’ complaint because the sheriff, wardens, and county did not cause the injury the plaintiffs

    asserted. See id. at 1239.

           Like the situation in Moya, Plaintiffs did not argue that Regalado should have immediately

    released Plaintiffs or other similarly situated people immediately upon their inability to pay the

    bail set for them under the bail schedule. Rather, Plaintiffs repeatedly argue that the local bail

    procedure and hearings are unconstitutional. See id. at 1238; Dkt. # 259, at ¶¶ 3-9, 18-19, 35-39,

    47-57, 60-68, 71, 74, 101, 103, 105, 137, 139-40, 141 For example, at ¶¶ 139-40, Plaintiffs provide

    the following explanation of their claims for relief:

           The Due Process Clause requires the government, before depriving anyone of the
           fundamental right to pretrial liberty, to provide notice of the critical issues to be
           decided at the hearing. The person must be represented by counsel and have the
           opportunity to present and confront evidence and to be heard concerning the issue
           of pretrial release or detention. Any transparent or de facto order of pretrial
           detention must be accompanied by findings on the record by clear and convincing
           evidence explaining why no combination of conditions could sufficiently serve the
           government’s compelling interests.

           Defendants violate Plaintiffs’ procedural due process rights by depriving them of
           their fundamental right to pretrial liberty without providing these necessary
           safeguards to ensure the accuracy of the substantive finding of necessity.

           Also, since Oklahoma law criminalizes a sheriff’s release of detainees without proper

    authority such as a court order, as discussed above in § IV.A, Regalado would also be placed in


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    the same “Catch-22” situation, discussed in Moya, to any extent Plaintiffs do assert that

    individuals, who cannot pay the monetary amount set for them by the pre-set bail schedule, should

    be immediately released. Moya, 895 F.3d at 1238. Most importantly, and again analogous to the

    situation in Moya, Regalado did not cause Plaintiffs’ alleged injury, that they were detained

    “without having had a hearing of any kind . . . for no other reason than their inability to pay a

    secured money-bail amount,” since Regalado had no control or policy making authority over the

    setting of bail, bail hearings, or release on bail, because all of these issues were governed by

    Oklahoma state statutes or by the procedures and orders of the District Court, as discussed in detail

    in § IV.A-C above. See Moya, 895 F.3d at 1239; Pembaur, 475 U.S. at 481, 483.

           The role allegedly played by Regalado in this “wealth-based detention scheme” is that he

    jails arrestees brought by law enforcement to the county jail and will only release them upon

    payment of secured bail in an amount approved by the court or upon order of the district court.

    See Dkt. # 259, at ¶¶ 18, 36, 57, 80. Plaintiffs’ use of the plural word, “Defendants,” in several

    paragraphs of their pleading overly blame everyone for a generalized scheme of wealth-based

    detention, and in doing so, fail to articulate sufficient facts to place Regalado on proper notice of

    the grounds for Plaintiffs’ claims against him. See id. at ¶¶ 3-7, 9-10, 12, 35, 51-52, 59, 74, 76, 80,

    86, 113, 117, 122-26, 129-30, 133-135, 137, 140. Each defendant is entitled to fair notice of each

    claim asserted and the factual basis for such claim. See Robbins v. Okla., 519 F.3d 1242, 1248

    (10th Cir. 2008). “[I]n multiparty litigation, ‘the Federal Rules do not permit a party to aggregate

    allegations against several defendants in a single, unspecific statement, but instead require the

    pleader to identify (albeit generally) the conduct of each defendant giving rise to [his] claims.’”

    Jamison v. City of Forsyth, Georgia, No. 506-CV-399 CAR, 2007 WL 1231663, *1 (M.D. Ga.

    April 26, 2007) (citing Parker v. Brush Wellman, 377 F.Supp.2d 1290, 1294 (N.D. Ga. 2005); see



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    also In re Benzene Litig., No. CIV.A.05C-09-020-JRS, 2007 WL 625054, *7 (Del. Super. Ct. Feb.

    26, 2007) (“defendants are entitled at the pleading stage to isolate the wrong they are alleged to

    have committed, and to distinguish their behavior, if appropriate in the facts, from the behavior of

    the other defendants”); Tonkovich v. Kan. Bd. of Regents, 159 F.3d 504, 532–33 (10th Cir. 1998)

    (holding that district court’s analysis of plaintiff’s § 1983 claims was “infirm” where district court

    “lump[ed]” together plaintiff’s claims against multiple defendants – “despite the fact that each of

    the defendants had different powers and duties and took different actions with respect to

    [plaintiff]”—and “wholly failed to identify specific actions taken by particular defendants that

    could form the basis of [a constitutional] claim”); Gray v. University of Colorado Hospital

    Authority, 672 F.3d 909, 921 n.9 (10th Cir. 2012) (the defendants lacked notice because the

    plaintiffs’ claim and the facts supporting it used the collective term “defendants” and “d[id] not

    specify what acts [we]re attributable to whom”); VanZandt v. Okla. Dep’t of Human Servs., 276

    Fed.Appx. 843, 848-49 (10th Cir. 2008) (the court held that even though the plaintiffs were

    referring to three (3) named defendants working for the same employer, their use of the collective

    term “Defendants” was still improper because “the burden rests on the plaintiffs to provide fair

    notice of the grounds for the claims against each of the defendants”).

            Here, Plaintiffs’ generalized allegations against all Defendants, plural, should be ignored

    or understood in the context of their particularized factual allegations as to the separate roles played

    by the state court judges and the County Defendants. Importantly, in Oklahoma “[c]ounties have

    only such authority as is granted by statute[, and p]ublic officers possess only such authority as is

    conferred upon them by law and such authority must be exercised in the manner provided by law.”

    Tulsa Exposition & Fair Corp. v. Board of County Comm’rs, 1970 OK 67, ¶ 26, 468 P.2d 501,

    507-08 (citations omitted). Regalado’s authority is limited to the above statutes, none of which



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    grant him the authority to set bail procedure, act as a special or state district court judge, grant bail

    hearings, or sit in judgment of judicial actions. See supra Section IV.A-B. If Regalado did as

    Plaintiffs allege 14—operate a wealth based detention scheme, without due process—he has

    exceeded his statutory authority and committed an ultra vires act. “Public officials performing acts

    which exceed their authority may not bind a public entity. Rather, they lack authority to expand

    their powers and are bound by mandatory law.” Strong v. State ex rel. The Oklahoma Police

    Pension & Ret. Bd., 2005 OK 45, ¶ 9, 115 P.3d 889, 893. If Plaintiffs’ allegations are taken as true,

    those actions cannot bind Tulsa County because Regalado had no authority to do so. Therefore,

    Plaintiffs have failed to state a claim against Regalado in his official capacity as a Tulsa County

    actor.

         D. REGALADO ACTS AS AN ARM OF THE STATE DISTRICT COURT WHEN HE
            DETAINS OR RELEASES AN ARRESTEE

             Alternatively, Plaintiffs seek prospective relief against Regalado under the fictions of Ex

    parte Young as an agent of the state who may be sued to prevent enforcement of an unconstitutional

    state law. 15 See Dkt. # 259, at ¶ 18 n.3. “Defendant Regalado is named separately from the County

    as a defendant in the event that the Court concludes that he acts on behalf of the state in this

    capacity, and thus is subject to prospective relief.” Id. A state and state actors are generally entitled

    to Eleventh Amendment Immunity in federal court. Pennhurst State Sch. & Hosp. v. Halderman,

    465 U.S. 89, 101-102 (1984). However, a narrow exception applies when a plaintiff seeks to

    prospectively enjoin state officials in their official capacities. See Ex parte Young, 209 U.S. 123

    (1908). This exception “may not be used to obtain a declaration that a state officer has violated a


    14
      See Dkt. # 259, at ¶¶ 3-7, 9-10, 12, 35, 51-52, 59, 74, 76, 80, 86, 113, 117, 122-26, 129-30, 133-
    135, 137, 140.
    15
      See Hill v. Kemp, 478 F.3d 1236, 1255-56 (10th Cir. 2007) (explaining the various fictions
    involved in applying the doctrine of Ex parte Young).
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    plaintiff’s federal right in the past.” Buchwald v. Univ. of New Mexico Sch. of Med., 159 F.3d 487,

    495 (10th Cir. 1998). The Eleventh Amendment bars such relief. See Johns v. Stewart, 57 F.3d

    1544, 1553 (10th Cir. 1995).

            Regalado acts not as a county actor when he releases an inmate from custody or detains

    them prior to trial, but a state actor as an arm of the state district court. See, e.g, Magic City

    Amusement Co. v. Hastings, 1941 OK 220, ¶ 8, 116 P.2d 709, 711 (county sheriff who conducts

    mortgage foreclosure sale does so as an agent or officer of the state court); Speight v. Presley, 2008

    OK 99, ¶¶ 13 & 14, 203 P.3d 173, 176-77 (county court clerk’s ministerial duties were carried out

    as an agent of the state court system); North Side State Bank v. Board of County Comm’rs of Tulsa

    County, 1994 OK 34, 894 P.2d 1046 (in making payment from court fund, court clerk was acting

    as an agent for the state); 1999 OK AG 23, ¶ 9 (“The sheriff is an officer of the court and is subject

    to its orders and direction.”); 1985 OK AG 27, ¶ 2 (“It is not only the power, but the duty, of

    sheriffs in their various jurisdictions . . . [to] carry out the mandates, orders and directions of the

    courts.”).

            As above, Tulsa County is not responsible for Regalado’s actions when he follows state

    law and judicial orders. This is not simply a technical matter. It makes a difference as to who

    statutorily represents Regalado and whether the County or State is liable and possibly the payment

    of attorneys’ fees and costs.

            Moreover, even if an injunctive or declaratory relief under Ex parte Young is available

    against Regalado, it should not be granted. The Civil Rights Act of 1871 provides that:

            Every person who, under color of any statute, ordinance, regulation, custom, or
            usage, of any State or Territory or the District of Columbia, subjects, or causes to
            be subjected, any citizen of the United States or other person within the jurisdiction
            thereof to the deprivation of any rights, privileges, or immunities secured by the
            Constitution and laws, shall be liable to the party injured in an action at law, suit in
            equity, or other proper proceeding for redress, except that in any action brought


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            against a judicial officer for an act or omission taken in such officer’s judicial
            capacity, injunctive relief shall not be granted unless a declaratory decree was
            violated or declaratory relief was unavailable.

    (Emphasis added). Plaintiffs may be entitled to a declaratory judgment against the Presiding Judge

    and the Special Judges in their official capacities, and these judges are likewise entitled to the fruits

    of such a declaratory judgment regarding Plaintiffs’ claims. If Plaintiffs prevail, and the Presiding

    Judge and special judges adhere to the declaratory judgment, all is well. If not, enjoin them. But

    don’t enjoin their help to disobey them. An injunction issued against Regalado in this case

    impermissibly enjoins the judges because an injunction applies to all “other persons who are in

    active concert or participation with [Regalado].” Fed. R. Civ. P. 65(d)(2)(C).

            Because Plaintiffs have sued state court judges to get them to change their allegedly

    unconstitutional procedures and actions, and because a sheriff is duty-bound in Oklahoma to obey

    the district court as to those in his custody, this Court should dismiss Plaintiffs’ request to proceed

    against Regalado under Ex parte Young and instead accommodate the state’s interest in a stable,

    judicial command structure between district court and county sheriff. It is simply unnecessary and

    would only confuse matters to order Regalado to make sure the judges do as they are ordered.

    Regalado should not be instructed to act as a pseudo-appellate court reviewing the orders and

    decrees of state court judges he must obey. Although it involved a claim for money damages, the

    Tenth Circuit’s opinion in Valdez v. City and County of Denver, 878 F.2d 1285, 1289 (10th Cir.

    1989) is instructive:

            To force officials performing ministerial acts intimately related to the judicial
            process to answer in court every time a litigant believes the judge acted improperly
            is unacceptable. Officials must not be called upon to answer for the legality of
            decisions which they are powerless to control. We explained in [T & W Inv. Co.,
            Inc. v. Kurtz, 588 F.2d 801, 802 (10th Cir.1978)], that it is simply unfair to spare
            the judges who give orders while punishing the officers who obey them. Denying
            these officials absolute immunity for their acts would make them a “lightning rod



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           for harassing litigation aimed at judicial orders.” Id. . . .

           Tension between trial judges and those officials responsible for enforcing their
           orders inevitably would result were there not absolute immunity for both. Kurtz,
           588 F.2d at 802. Officials employed to implement facially valid court orders could
           choose: They may disregard the judge's orders and face discharge, or worse yet
           criminal contempt, or they may fulfill their duty and risk being haled into court. . .
           . Officials such as the defendants must not be required to act as pseudo-appellate
           courts scrutinizing the orders of judges. [Henry v. Farmer City State Bank, 808
           F.2d 1228, 1239 (7th Cir.1986)]. The public interest demands strict adherence to
           judicial decrees.

    (Emphasis added). Valdez provides sound justification for denying to take up this case under the

    Declaratory Judgment Act, 28 U.S.C. § 2201.

           No injunction can issue forcing compliance with the Constitution until the Court first

    declares what the Constitution requires. That being the case, the matter should proceed under 42

    U.S.C. § 1983 with a declaratory judgment against the state court judges. Injunctive relief may

    then be granted if the declaratory decree is violated. 42 U.S.C. § 1983. This also comports with

    Fed. R. Civ. P. 65(d)(2)(C). Plaintiffs should not be allowed to employ an end run around Fed. R.

    Civ. P. 65(d)(2)(C) and 42 U.S.C. § 1983, nor permit Regalado to sit in judgment of a judge whom

    he is obligated by state law to obey. Thus, Tulsa County cannot be liable for the complained of

    actions and Regalado should be dismissed from this action, or at the very least, be dismissed in his

    capacity as a county actor.

       E. PLAINTIFFS DO NOT HAVE STANDING TO BRING SUIT AGAINST THE
          BOCC

           Standing “is a ‘threshold issue in every case. Bd. of Cty. Commisioners of Sweetwater Cty.

    v. Geringer, 297 F.3d 1108, 1111 (10th Cir. 2002) (emphasis in original). “Constitutional standing

    derives from Article III of the U.S. Constitution, which restricts federal courts’ jurisdiction to suits

    involving an actual case or controversy.” Id. A plaintiff must demonstrate the following three (3)




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    elements to satisfy the requirements of constitutional standing:

           (1) ‘injury in fact’-meaning ‘the invasion of a legally protected interest that is (a)
           concrete and particularized, and (b) actual or imminent, not conjectural or
           hypothetical’; (2) ‘a causal relationship between the injury and the challenged
           conduct’ – meaning that the ‘injury fairly can be traced to the challenged action of
           the defendant’; and (3) ‘a likelihood that the injury will be redressed by a favorable
           decision’-meaning that the ‘prospect of obtaining relief from . . . a favorable ruling
           is not too speculative.’

    Id. at 1112. “The party invoking federal jurisdiction bears the burden of establishing these

    elements” and these elements are “an indispensable part of the plaintiff’s case” throughout the

    “successive stages of the litigation.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).

           Plaintiffs do not have standing to sue Regalado in his capacity as county actor under § 1983

    because they cannot meet their ongoing burden to show that he caused their alleged constitutional

    injury because Regalado is not a policymaker, final or otherwise, related to their claimed injury of

    being subject to a wealth-based detention scheme and jailed without having had a due process

    compliant hearing that inquired into the their ability to pay bail and necessity of detention. Dkt. #

    259, at ¶¶ 137, 139-40; See also Pembaur, 475 U.S. at 481, 483. Plaintiffs’ claims against

    Regalado, related to their detention without proper bail hearings, are all governed by state statute

    or district court orders or involved procedures directly established by the district court. See supra

    Section IV.A-B. Further, since Regalado did not cause Plaintiffs’ claimed injuries, related to

    allegedly unconstitutional local bail procedures, Plaintiffs have not met their burden to show that

    there is a “causal relationship” between their claimed injuries and Regalado’s conduct in order to

    properly establish standing to sue him for these alleged injuries. Geringer, 297 F.3d at 1111.

           Additionally, an injunction issued against Regalado would not redress Plaintiffs’ alleged

    harms. See Lujan, 504 U.S. at 561. As above, Regalado does not have the authority to do what

    Plaintiffs request. Regalado would violate Oklahoma law, if he were to release an inmate before a



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    judge orders him to do so. “The short of the matter is that redress of the only injury in fact

    [Plaintiffs] complain of requires action” by state court judges. Id. at 570–71.

           Plaintiffs request that Regalado ensure that arrestees have due process compliant bail

    hearings before he detains them any further but do not explain how this is to occur. If the request

    is to ensure that records reflect the special judge asked certain questions of the arrestee during the

    hearing, how does that adequately address the injury? This action would simply show that someone

    said it happened, regardless of whether it actually occurred. If the request is asking Regalado to

    make a legal determination of whether constitutional process was given, he is not authorized by

    law to act as a pseudo-appellate court judging the actions of a special or district court judge.

    Accordingly, Plaintiffs have not met their ongoing burden to show that they have constitutional

    standing to bring their claims against Regalado, and therefore, should be dismissed.

                                              CONCLUSION

           For these reasons set for forth above, Regalado respectfully requests that this Court dismiss

    Plaintiffs’ claims against him with prejudice, or in the alternative, dismiss him in his capacity as a

    county actor.


                                                          Respectfully submitted,

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                        CERTIFICATE OF MAILING & ELECTRONIC NOTICE
    I hereby certify that on March 31, 2021, I electronically transmitted the foregoing document to the
    Clerk of the Court using the ECF System for filing and transmittal of a Notice of Electronic Filing
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           Stevie DeGroff
           Vassi Iliadis


                                                         s/Mike Shouse
                                                         Mike Shouse




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